     Case 2:13-cr-06070-SAB     ECF No. 69    filed 02/27/24   PageID.277   Page 1 of 2




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 6
 7                          UNITED STATES DISTRICT COURT
                       FOR THE EASTERN DISTRICT OF WASHINGTON
 8
 9 UNITED STATES OF AMERICA,
10                            Plaintiff,            Case No.: 2:13-CR-06070-SAB-1
11                v.

12 KENNETH RICHARD ROWELL,                          Notice of Substitution and
13                                                  Withdrawal of Counsel
                              Defendant.            for the United States
14
15
16         Plaintiff, United States of America, by and through Vanessa R. Waldref, United
17 States Attorney for the Eastern District of Washington, and Earl A. Hicks, Assistant
18 United States Attorney for the Eastern District of Washington, hereby substitutes as
19 counsel of record on behalf of the United States replacing Alexander C. Ekstrom, who
20 hereby withdraws as counsel of record on behalf of the United States.
21         Dated: February 27, 2024.
22
           Vanessa R. Waldref
23         United States Attorney
24
           s/Earl A. Hicks                       s/Alexander C. Ekstrom
25         Earl A. Hicks                         Alexander C. Ekstrom
26         Assistant United States Attorney      Assistant United States Attorney
27
28

     Notice of Substitution and Withdrawal of Counsel for the United States - 1
     Case 2:13-cr-06070-SAB     ECF No. 69     filed 02/27/24   PageID.278     Page 2 of 2




 1                              CERTIFICATE OF SERVICE
 2         I hereby certify that on February 27, 2024, I electronically filed the foregoing
 3 with the Clerk of the Court using the CM/ECF system which will send notification of
 4 such filing to the counsel of record.
 5
 6                                                s/Earl A. Hicks
                                                  Earl A. Hicks
 7                                                Assistant United States Attorney
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     Notice of Substitution and Withdrawal of Counsel for the United States - 2
